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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA



LABMD, INC.,                                         )
                                   Plaintiff,        )
                                                     )
         vs.                                         )        Civil Action No. 15-92
                                                     )
                                                     )        Judge Mark R. Hornak/
TIVERSA HOLDING CORP. formerly                       )        Chief Magistrate Judge Maureen P. Kelly
known as TIVERSA, INC.; ROBERT J.                    )
BOBACK; M. ERIC JOHNSON; DOES                        )
1-10,                                                )        Re: ECF Nos. 34 and 36
                         Defendants.                 )



                                REPORT AND RECOMMENDATION


I.       RECOMMENDATION

         Plaintiff LabMD, Inc., a Georgia corporation, (“LabMD”) has filed this civil action

asserting claims for conversion, defamation, tortious interference with business relations, fraud,

negligent misrepresentation, civil conspiracy and violations of the Racketeer Influenced and

Corrupt Organizations Act (“RICO”). The claims arise out of an alleged shakedown scheme

executed by Defendant Tiversa, Inc., a Pennsylvania corporation, (“Defendant Tiversa”),

Defendant Robert J. Boback, a Pennsylvania resident, (“Defendant Boback”), and Defendant M.

Eric Johnson, currently a Tennessee resident, (“Defendant Johnson”). 1 Some claims are raised

only against Defendants Tiversa and Boback (collectively, “the Tiversa Defendants”).



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  Defendants Does 1-10 are identified in the Complaint as “as-yet unidentified individuals or entities that actively
participated in and/or materially benefitted from the illicit conduct detailed herein” who would “be substituted with
the proper names of these individuals or entities as they become available.” ECF No. 1 ¶ 10. No such substitution
has been made and these defendants obviously have not been served with the Complaint.
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        For the following reasons, it is respectfully recommended that the Motions to Dismiss

presently before the Court, filed by the Tiversa Defendants and Defendant Johnson, ECF Nos. 34

and 36, respectively, be granted.

II.     REPORT

        A.       FACTUAL AND PROCEDURAL BACKGROUND

        Litigation between the parties commenced in a Georgia state court action filed by

LabMD in October 2011. That case was removed to the United States District Court for the

Northern District of Georgia where it was dismissed for lack of personal jurisdiction. LabMD,

Inc. v. Tiversa, Inc., 509 F. App’x 842 (11th Cir. 2013)(affirming the dismissal). 2

        The instant iteration of this litigation was commenced via a Complaint filed by LabMD

with this Court on January 21, 2015. ECF No. 1. LabMD filed a RICO Case Statement on

February 18, 2015. ECF Nos. 18, 19. On March 24, 2015, the Tiversa Defendants filed a

Motion to Dismiss Plaintiff’s Complaint and a brief in support thereof. ECF Nos. 34, 35. On

March 31, 2015, Defendant Johnson filed a Motion to Dismiss and a brief in support thereof.

ECF Nos. 36, 37. On June 1, 2015, LabMD filed responses in opposition to both Motions to

Dismiss. ECF Nos. 63, 64. The Tiversa Defendants filed a Reply in Support of their Motion to

Dismiss on June 24, 2015. ECF No. 68. Defendant Johnson filed a Reply in Support of his




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  Tiversa also filed an action in this Court against LabMD pleading state law claims for defamation, slander per se,
commercial disparagement and trade libel. Tiversa Holding Corp. v. LabMD, Inc., No. 13-1296 (W.D. Pa. Sept. 5,
2012). On November 4, 2014, Judge Nora Barry Fischer dismissed Tiversa’s action for lack of diversity jurisdiction
upon the addition of Richard Edward Wallace, a Pennsylvania resident, as a named defendant. (ECF No. 84).
Tiversa is now pursuing its claims in a separate consolidated action in the Pennsylvania Court of Common Pleas of
Allegheny County, at GD-14-16497. Also pending and arising out of the subject matter of this action is an
administrative action commenced by the Federal Trade Commission, In the Matter of LabMD, Inc., No. 9357
(F.T.C.). LabMD has unsuccessfully challenged the FTC’s action in multiple federal actions. LabMD, Inc. v.
Federal Trade Comm’n, No. 1:13-cv-1787 (D.D.C. Nov. 14, 2013); LabMD, Inc. v. Federal Trade Comm’n, No. 13-
15267-F (11th Cir. Feb. 18, 2014); LabMD, Inc. v. Federal Trade Comm’n, No. 1:14-cv-00810-WSD, aff’d 776
F.3d 1275 (11th Cir. 2015).

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Motion to Dismiss on June 24, 2015. ECF No. 69. The Motions to Dismiss are now ripe for

consideration.

       The allegations in the Complaint describe the shakedown scheme as one in which

Defendants conspired to infiltrate LabMD’s computer systems and, upon gaining access, created

a data security breach in LabMD’s computer files. ECF No. 1 ¶ 4. Through this breach,

Defendant Tiversa obtained a 1718-page file containing confidential patient health-related data

(“the 1718 File”). Id. ¶ 20. With this file as proof of a breach, Defendant Tiversa then offered to

sell LabMD services to remedy the breach. Id. When LabMD refused to purchase Defendant

Tiversa’s services, Defendants turned to the Federal Trade Commission (“FTC”) and reported

that due to LabMD’s failed data security protocols, confidential patient health and personal

information was disseminated on peer-to-peer networks for unbridled use by identity thieves. Id.

¶ 22. LabMD contends that Defendants then retaliated against LabMD’s refusal to purchase

Tiversa’s services by including references to the 1718 File in publications authored by Defendant

Johnson relative to health care “data breaches.” Id. ¶ 21.

       LabMD alleges that as a result of Defendants’ conduct, the FTC initiated a public and

wide-ranging investigation of LabMD, leaving it “an insolvent shell of a company.” Id. ¶ 1.

       B.        STANDARD OF REVIEW

       Federal Rule of Civil Procedure 8(a)(2) requires that a complaint contain a “short and

plain statement of the claim showing that the pleader is entitled to relief.” Dismissal of a

complaint or portion of a complaint is warranted under Federal Rule of Civil Procedure 12(b)(6)

when a claimant fails to sufficiently state a claim upon which relief can be granted. Avoiding

dismissal under Rule 12(b)(6) requires that the complaint to provide “enough factual matter

(taken as true)” to suggest the required elements of the claim presented while providing the



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defendant with fair notice of the grounds upon which the claim rests. Phillips v. County of

Allegheny, 515 F. 3d 224, 233, 234 (3d Cir. 2008). The pleader must “‘nudge his or her claims

across the line from conceivable to plausible.’” Id. (quoting Bell Atlantic Co. v. Twombly, 550

U.S. 544 at 570 (2007)).

       In assessing the merits of a claim subject to a motion to dismiss, a court must accept all

alleged facts as true and draw all inferences gleaned therefrom in the light most favorable to the

non-moving party. Phillips, 515 F. 3d at 228 (citing Worldcom, Inc. v. Graphnet, Inc., 343 F. 3d

651, 653 (3d Cir. 2003)). A pleading party need not establish the elements of a prima facie case

at this stage; the party must only “put forth allegations that ‘raise a reasonable expectation that

discovery will reveal evidence of the necessary element[s].’” Fowler v. UPMC Shadyside, 578

F. 3d 203, 213 (3d Cir. 2009) (quoting Graff v. Subbiah Cardiology Associates, Ltd., 2008 WL

2312671 (W.D. Pa. June 4, 2008)).

       C.      DISCUSSION

       As to each of LabMD’s claims, Defendants argue in the pending Motions to Dismiss that:

(1) the claim is time-barred due to the expiration of the statute of limitations; and (2) the claim is

substantively deficient. A discussion of these arguments, as necessary, for each claim follows.

               1.      Count I: Conversion (All Defendants)

                       a.      LabMD claims

       LabMD’s Complaint alleges that in 2008, the Tiversa Defendants contacted LabMD and

represented that Defendant Tiversa had obtained the 1718 File. ECF No. 1 ¶ 20. On September

20, 2010, LabMD demanded the return of the 1718 File from Tiversa. ECF No. 1 ¶ 35; ECF No.

35-2 ¶ 96. It had not been returned as of the October 19, 2011, the date of the filing of the

Georgia lawsuit. ECF No. 1 ¶ 35; ECF No. 35-2 ¶ 151.



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       The Complaint also alleges that Defendant Johnson published a paper in 2009 which

included an excerpt from the 1718 File. ECF No. 1 ¶ 28. LabMD demanded return of the 1718

File from him on September 30, 2010. ECF No. 1 ¶ 35; ECF No. 35-2 ¶ 97. It had not been

returned as of the date of the filing of the October 19, 2011, Georgia lawsuit. ECF No. 1 ¶ 35;

ECF No. 35-2 ¶ 151.

                       b.      Statute of Limitations

       Both the Tiversa Defendants and Defendant Johnson raise the statute of limitations as a

basis to dismiss the conversion claims. The United States Court of Appeals for the Third Circuit

has consistently held that a statute of limitations defense may be raised by a motion under Rule

12(b)(6) "only if 'the time alleged in the statement of a claim shows that the cause of action has

not been brought within the statute of limitations.'" Robinson v. Johnson, 313 F.3d 128, 135 (3d

Cir. 2002)(quoting Hanna v. U.S. Veterans' Admin. Hosp., 514 F.2d 1092, 1094 (3d Cir. 1975)).

Indeed, "'[i]f the bar is not apparent on the face of the complaint, then it may not afford the basis

for a dismissal of the complaint under Rule 12(b)(6).'" Robinson, 313 F.3d at 135 (quoting

Bethel v. Jendoco Constr. Corp., 570 F.2d 1168, 1174 (3d Cir. 1978)).

       The Pennsylvania statute of limitations for conversion is two years. 42 Pa. Cons. Stat.

§ 5524(3). “The classic definition of conversion under Pennsylvania law is ‘the deprivation of

another's right of property in, or use or possession of, a chattel, or other interference therewith,

without the owner's consent and without lawful justification.’” L.B. Foster Co. v. Charles

Caracciolo Steel & Metal Yard Inc., 777 A.2d 1090, 1095 (Pa. Super. Ct. 2001)(quoting

McKeeman v. Corestates Bank, N.A., 751 A.2d 655, 659 n.3 (Pa. Super. Ct. 2000)).

       The timeline asserted by LabMD in the Complaint establishes the existence of the

elements of LabMD’s conversion claims, at the latest, by the filing of the Georgia action in



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October 2011.      Accordingly, it is apparent on the face of the relevant pleadings that the

applicable two-year statute of limitations had run long before the filing of the instant Complaint

in January 2015.

       In opposing the Motions to Dismiss, LabMD asserts that the statute of limitations was

equitably tolled when it timely asserted its rights in the wrong forum, i.e., Georgia.         In

Pennsylvania, the doctrine that LabMD that seeks to invoke is codified in a “savings statute”

which provides that, in certain situations:

          If a civil action or proceeding is timely commenced and is terminated, a
          party, or his successor in interest, may, notwithstanding any other provision
          of this subchapter, commence a new action or proceeding upon the same
          cause of action within one year after the termination and any other party
          may interpose any defense or claim which might have been interposed in
          the original action or proceeding.

42 Pa. Cons. Stat. § 5535(a)(1)(emphasis added).

       The Georgia action was terminated on February 5, 2013, when the United States Court of

Appeals for the Eleventh Circuit affirmed the district court’s dismissal of the case for lack of

personal jurisdiction. LabMD, Inc. v. Tiversa, Inc., 509 Fed. App’x 842. In accordance with the

Pennsylvania savings statute, LabMD had one year – until February 5, 2014 – to commence a

new action. LabMD did not file the instant Complaint until January 21, 2015, more than one

year after the termination of the Georgia action. Therefore, the Pennsylvania savings statute

does not “save” the conversion claims. As such, LabMD’s conversion claims (Count I) against

Defendants should be dismissed with prejudice as time-barred.

                       c.      Substantive Deficiency

       In light of the fact that the conversion claims are clearly time-barred, the remaining

substantive bases for the Motions to Dismiss these claims do not need to be addressed.




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                2.      Count II: Defamation (All Defendants)

                        a.     LabMD claims

       In its Complaint, LabMD alleges:

            36. Defendants have published false and defamatory statements about
            LabMD to third parties (“the Defamatory Statements”), including
            statements that refer to LabMD’s trade and profession that were calculated
            to injure it therein and were disparaging words productive of special
            damage which flows naturally therefrom.

            37. The Defamatory Statements have severely damaged LabMD’s brand,
            reputation, and goodwill.

ECF No. 1 ¶¶ 36, 37. Nowhere in the Complaint does LabMD specifically identify any of said

“Defamatory Statements” that form the basis for its defamation claims.

                         b.    Statute of Limitations

       As set forth below, the failure of LabMD to identify any of the “Defamatory Statements”

and assert the requisite elements of a defamation claim renders it impossible for the Court to

consider the timeliness of these claims.

                        c.     Substantive Deficiency

       Defendants argue that LabMD’s failure to identify the alleged defamatory statements in

the Complaint is fatal to its defamation claims.

       Under the relevant Pennsylvania statute, the elements of a defamation claim are as

follows:

            (a) Burden of plaintiff. -- In an action for defamation, the plaintiff has the
            burden of proving, when the issue is properly raised:
            (1) The defamatory character of the communication.
            (2) Its publication by the defendant.
            (3) Its application to the plaintiff.
            (4) The understanding by the recipient of its defamatory meaning.
            (5) The understanding by the recipient of it as intended to be applied to the
            plaintiff.
            (6) Special harm resulting to the plaintiff from its publication.

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          (7) Abuse of a conditionally privileged occasion.

          (b) Burden of defendant. -- In an action for defamation, the defendant has
          the burden of proving, when the issue is properly raised:
          (1) The truth of the defamatory communication.
          (2) The privileged character of the occasion on which it was published.
          (3) The character of the subject matter of defamatory comment as of public
          concern.

42 Pa. Con. Stat. § 8343.

       A plaintiff is not required to plead “the precise defamatory statements” or “specifically

name the person who made the statement,” as long its defamation count “provides sufficient

notice to defendants.” Rishell v. RR Donnelley & Sons Co., 2007 WL 1545622, *3 (E.D. Pa.

May 24, 2007) (citations omitted).       However, LabMD’s failure is not one of degree of

specificity; there is simply no identification whatsoever of the “Defamatory Statements.”

       In response to the Motions to Dismiss the defamation claims, LabMD argues that it has

identified the statements with sufficient particularity, citing to a list of twelve specific alleged

defamatory communications it provides in its Opposition to the Tiversa Defendants’ Motion to

Dismiss. ECF No. 63 at 16. However, a complaint may not be modified by a brief in opposition

to a motion to dismiss. Pennsylvania ex rel. Zimmerman v. Pepsico, Inc., 836 F.2d 173, 181 (3d

Cir. 1988).

       Accordingly, there is not sufficient notice to Defendants in the Complaint of the basis for

LabMD’s claims. It is thus recommended that the defamation claims (Count II) be dismissed

without prejudice to file an amended complaint as to this count.

               3.      Count III: Tortious Interference with Business Relations (All
                       Defendants)

                       a.     LabMD claims

       In Count III of the Complaint, LabMD alleges that:



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          49. By engaging in the above described misconduct, Defendants have
          substantially harmed and/or seriously jeopardized LabMD’s reputation and
          goodwill in the healthcare industry and its existing and prospective business
          relationships with patients, referral sources, and others.

          50. Defendants knew or should have known that the above described
          misconduct would substantially harm and/or seriously jeopardize LabMD’s
          reputation and goodwill in the healthcare industry and its existing and
          prospective business relationships with patients, referral sources, and others.

ECF No. 1 ¶¶ 49, 50.

                       b.      Statute of Limitations

       As fully explained below, LabMD fails to allege sufficient facts to establish the

plausibility of these claims. Therefore, it is impossible for the Court to evaluate the timeliness of

these claims.

                       c.      Substantive Deficiency

       Initially, it is worth noting that “tortious interference with business relations” is not truly

a tort claim in Pennsylvania. However, "Pennsylvania recognizes both interference with existing

contractual relations and interference with prospective contractual relations as branches of the

tort of interference with contract." Brokerage Concepts, Inc. v. U.S. Healthcare, Inc., 140 F.3d

494, 530 (3d Cir. 1998) (citing U.S. Healthcare, Inc. v. Blue Cross of Greater Philadelphia, 898

F.2d 914, 925 (3d Cir.1990)). Although they are distinct, the two types of torts share essentially

the same elements. Brokerage Concepts, Inc, 140 F.3d at 529. These elements include:

          1. the existence of a contractual, or prospective contractual relation between
          [the plaintiff] and a third party;
          2. purposeful action on the part of the defendant, specifically intended to
          harm the existing relation, or to prevent the prospective relation from
          occurring;
          3. The absence of a privilege or justification on the part of the defendant;
          4. the occasioning of actual legal damage as a result of the defendants'
          conduct; and
          5. for prospective contracts, a reasonable likelihood that the relationship
          would have occurred but for the interference of the defendant.

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Id. at 530 (citing Pelagatti v. Cohen, 536 A.2d 1337, 1343 (Pa. Super. Ct. 1988); Thompson Coal

Co. v. Pike Coal Co., 412 A.2d 466, 471 (Pa. 1979); Birl v. Philadelphia Elec. Co., 167 A.2d

472, 474 (Pa. 1960)).

       In the Motions to Dismiss, Defendants argue that these claims are substantively deficient

in that LabMD fails to allege facts in support of the first and second requisite elements of this

cause of action.

       First, Defendants argue that no contractual relationship is alleged.         The Tiversa

Defendants notably cite to Marci's Fun Food, LLC v. Shearer's Foods, Inc., 2010 WL 3982290,

*12 (W.D. Pa. Oct. 8, 2010), where allegations of “relationships” with unidentified “customers”

were found to be insufficient to establish any type of contractual relationship. Upon review of

the relevant portions of the Complaint, it is clear that LabMD’s allegations suffer from a similar

insufficiency.     Despite LabMD’s argument to the contrary, bald references to “patients,”

“customers” and “referral sources” cannot support its claims.

       Second, Defendants also point out that the Complaint lacks any factual allegations to

show “purposeful action” taken by Defendants, “specifically intended to harm the existing

relation, or to prevent the prospective relation from occurring.” Brokerage Concepts, Inc., 140

F.3d at 530.       In the Complaint, LabMD characterizes the motivations behind Defendants’

conduct as “for the purpose of commercial[] benefit[],” ECF No. 1 ¶ 3, the solicitation of

business from LabMD, id. ¶ 20, the bolstering of Defendant Johnson’s report, id. ¶ 21, and

retaliation (by providing the 1718 File to Defendant Johnson and to the FTC), id. ¶¶ 21, 22.

Although these allegations may support LabMD’s allegation that Defendants acted “improperly,

without privilege, purposely, and with malice and intent to injure LabMD,” id. ¶ 52, they do not




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suggest that the actions were done with the specific intent to harm existing or prospective

contractual relationships, as required to sustain a claim for interference with contract.

       In light of LabMD’s failure to allege facts in support of the requisite elements of an

interference claim, it is recommended that the tortious interference with business relations claims

(Count III) be dismissed without prejudice to file an amended complaint as to this count.

               4.      Count IV: Fraud (the Tiversa Defendants)

                       a.      LabMD Claims

       LabMD alleges in Count IV that the Tiversa Defendants are liable for fraud. LabMD

asserts that, in order to induce it to obtain Tiversa’s services, the Tiversa Defendants made

knowingly false statements concerning how they had obtained the 1718 File and the extent to

which third parties were downloading copies of the 1718 File. ECF No. 1 ¶¶ 55-56.

                       b.      Statute of Limitations

       As discussed below, no plausible claim of fraud is set forth in the Complaint. Thus, a

statute of limitations analysis is not necessary.

                       c.      Substantive Deficiency

       The specific elements of a fraud claim in Pennsylvania are:

           (1) a representation; (2) which is material to the transaction at hand; (3)
           made falsely, with knowledge of its falsity or recklessness as to whether it
           is true or false; (4) with the intent of misleading another into relying on it;
           (5) justifiable reliance on the misrepresentation; and (6) the resulting injury
           was proximately caused by the reliance.

Gibbs v. Ernst, 647 A.2d 882, 889 (Pa. 1994) (citations omitted). In other words, “[f]raud is

composed of a misrepresentation fraudulently uttered with the intent to induce the action

undertaken in reliance upon it to the damage of its victim.” Thomas v. Seaman, 304 A.2d 134,




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137 (Pa. 1973). It is important to note, Federal Rule of Civil Procedure 9(b) requires that fraud

be pled with particularity.

       In their Motion to Dismiss, the Tiversa Defendants assert that LabMD fails to provide

factual support for the second, third and fifth required elements of fraud. As the Tiversa

Defendants explain:

          . . . [LabMD] alleges that Tiversa made the allegedly fraudulent
          representation “for the purposes of soliciting its business, specifically to try
          to persuade [LabMD] to use Tiversa’s ‘Incidence Response Services.’”
          Complaint, ¶ 20. The only way Plaintiff can prevail on its theory is if
          [LabMD] actually engaged Tiversa’s services – the action which Tiversa
          allegedly intended to induce. However, the Complaint makes it abundantly
          clear that this allegedly desired result did not occur as [LabMD] did not
          engage Tiversa’s services. Id. Thus, [LabMD] has failed to plead any
          reliance on the statements, warranting dismissal of the claim.

ECF No. 35 at 21. Essentially, the Tiversa Defendants argue that there can be no claim of fraud

where there is no transaction.

       In Plaintiff’s Opposition, LabMD does not specifically respond to this argument. Instead,

LabMD asserts that the Tiversa defendants “implicitly conceded the materiality of the

misrepresentation by using it to attempt to induce LabMD to purchase Tiversa’s services.” ECF

No. 63 at 26. LabMD also asserts that it spent significant time and money attempting to remedy

the reported data breaches. Id. Finally, LabMD reiterates its allegations concerning the Tiversa

Defendants’ intent to mislead in making the misrepresentation. Id.

       Pennsylvania courts have held that “[a] misrepresentation is material when it is of such a

character that if it had not been made, the transaction would not have been entered into.”

Delahanty v. First Pa. Bank, N.A., 464 A.2d 1243, 1252 (Pa. Super. 1983).               Because no

transaction was entered into by Defendant Tiversa and LabMD, any false representation made by

the Tiversa Defendants could not have been “material to the transaction at hand.” Gibbs, 647



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A.2d at 889.    Thus, it appears that LabMD cannot make out a plausible claim for fraud.

Accordingly, it is recommended that the fraud claims (Count IV) be dismissed with prejudice.

               5.      Count V: Negligent Misrepresentation (The Tiversa Defendants)

                       a.     LabMD Claims

       The basis for LabMD’s negligent misrepresentation claims is essentially the same as the

basis for its fraud claims. LabMD alleges that the Tiversa Defendants made statements they

knew or should have known were false concerning how they had obtained the 1718 File and the

extent to which third parties were downloading copies of the 1718 File. ECF No. 1 ¶¶ 62-63.

                       b.     Statute of Limitations

       As discussed below, no plausible claim of negligent misrepresentation is set forth in the

Complaint. Thus, no statute of limitations analysis is necessary.

                       c.     Substantive Deficiency

       The Tiversa Defendants move to dismiss these claims on grounds similar to those

asserted in opposition to the fraud claims. Specifically, they argue LabMD failed to allege any

material misrepresentation of fact. LabMD does not substantively respond to this argument.

ECF No. 63 at 26-27.

       In Pennsylvania, a claim for negligent misrepresentation has the following elements:

          Negligent misrepresentation requires proof of: (1) a misrepresentation of a
          material fact; (2) made under circumstances in which the misrepresenter
          ought to have known its falsity; (3) with an intent to induce another to act
          on it; and; (4) which results in injury to a party acting in justifiable reliance
          on the misrepresentation.

Bortz v. Noon, 729 A.2d 555, 561 (Pa. 1999)(citations omitted).                Therefore, negligent

misrepresentation, like fraud, requires a misrepresentation of a material fact. As set forth above,

the allegations in LabMD’s Complaint are insufficient to establish this element.                No



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representation made by the Tiversa Defendants could have been material to the transaction at

hand where no transaction was entered into by Defendant Tiversa and LabMD. Accordingly, it

is recommended that the negligent misrepresentation claims (Count V) be dismissed with

prejudice.

              6.      Count VI: Civil Conspiracy (All Defendants)

                      a.     LabMD Claims

       LabMD alleges that Defendants have a common design and purpose to benefit

commercially from misrepresentations about data security breaches and that they acted in concert

to harm LabMD through conversion of LabMD’s property, defamation relating to LabMD’s

trade and profession and interference with LabMD’s business relations. ECF No. 1 ¶¶ 70-71.

                      b.     Statute of Limitations

       Due to the deficiency identified below, no analysis of the statute of limitations is

necessary.

                      c.     Substantive Deficiency

       Defendants argue, inter alia, that where the underlying claims against them are

untenable, so, too, are LabMD’s claims for civil conspiracy.

       In light of the fact that the civil conspiracy claims are based upon the claims for

conversion, defamation and interference with business relations, all of which have been assessed

by this Court to be unsupported, these claims are similarly unsupported.         Nix v. Temple

University, 596 A.2d 1132, 1137 (Pa. Super. 1991) (holding that where there is no cause of

action for an act, there can be no cause of action for conspiracy to commit the act). Thus, it is

recommended that the civil conspiracy claims (Count VI) be dismissed without prejudice to file

an amended complaint as to this count.



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               7.      Counts VII and VIII: RICO (All Defendants)

                       a.      LabMD Claims

       LabMD alleges violations of 18 U.S.C. § 1962(c) and (d). These subsections set forth the

following activities prohibited by RICO:

           (c) It shall be unlawful for any person employed by or associated with any
           enterprise engaged in, or the activities of which affect, interstate or foreign
           commerce, to conduct or participate, directly or indirectly, in the conduct of
           such enterprise's affairs through a pattern of racketeering activity or
           collection of unlawful debt.

           (d) It shall be unlawful for any person to conspire to violate any of the
           provisions of subsection (a), (b), or (c) of this section.

18 U.S.C. § 1962.

       LabMD’s RICO claims against Defendants allege the existence of an enterprise, the

activities of which affect interstate commerce and the purpose of which is to commercially

benefit from misrepresentations about data privacy and security breaches to “unsuspecting

consumers, government agencies, the media, and the public.” ECF No. 1 ¶ 79. LabMD alleges

that Defendants conspired to deprive LabMD of its assets and property through the illegal use of

interstate mails and interstate wires. Id. ¶ 82.

       In its RICO statement, in a response to the directive to “List the alleged victims [of the

RICO violations] and how each victim has been allegedly injured,” LabMD described its injury

as follows:

           . . . Defendants’ scheme has been financially devastating to LabMD,
           including by causing the FTC’s investigation and enforcement action
           against it. As a direct consequence of the FTC’s proceedings, including the
           attendant adverse publicity and the administrative burdens that were
           imposed on LabMD to comply with the FTC’s demands for access to
           current and former employees and the production of thousands of
           documents, LabMD’s insurers cancelled all of the insurance coverage for
           LabMD and its directors and officers, and LabMD lost virtually all of its
           patients, referral sources, and workforce, which had included around 40

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          full-time employees. Consequently, LabMD was effectively forced out of
          business by January 2014, and it now operates as an insolvent entity that
          simply provides records to former patients. In addition, Defendants have
          published false and fraudulent statements about LabMD to third parties,
          including statements that refer to LabMD’s trade and profession that were
          calculate to injure it therein and were disparaging words productive of
          special damages which flows naturally therefrom.

ECF No. 19 at 6.

                       b.        Statute of Limitations

       Defendants argue that LabMD’s RICO claims are time-barred because the claims

accrued, at the latest, in 2010. In response, LabMD argues that it did not have notice of the

claims until April 2, 2014, “when Defendants’ lies to LabMD, the FTC, and the Oversight

Committee were first exposed.” ECF No. 63 at 19.

       The statute of limitations for a civil RICO claim is four years. Rotella v. Wood, 528 U.S.

549, 552 (2000). The statute begins to run when the plaintiff knew or should have known of the

injury. Id. at 553, 554.

       According to LabMD’s allegations in the Complaint, the Tiversa Defendants’

“misrepresentations caused the FTC to investigate LabMD and to bring an enforcement action

against it in 2010.” ECF No. 1 ¶ 22. At that point, LabMD knew of the injury it claims to have

suffered and the parties who caused that injury even if it did not then know the precise methods

used or motivation behind the injury. It is apparent from the face of the relevant pleadings that

the instant Complaint, filed in 2015, was filed more than four years after the identified 2010

event. Accordingly, it is recommended that the RICO claims (Counts VII and VIII) be dismissed

with prejudice as time-barred.




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                      c.     Substantive Deficiency

       In light of the fact that the RICO claims are clearly time-barred, the remaining bases for

the Motions to Dismiss these claims do not need to be addressed.

       D.     CONCLUSION

       For the foregoing reasons, it is respectfully recommended that the Motions to Dismiss,

ECF Nos. 34 and 36, be GRANTED as follows.

       As to Count I, Conversion, the Motions to Dismiss, ECF Nos. 34 and 36, should be

GRANTED with prejudice.

       As to Count II, Defamation, the Motions to Dismiss, ECF Nos. 34 and 36, should be

GRANTED without prejudice to file an amended complaint as to this count.

       As to Count III, Tortious Interference with Business Relations, the Motions to Dismiss,

ECF Nos. 34 and 36, should be GRANTED without prejudice to file an amended complaint as to

this count.

       As to Count IV, Fraud, the Motion to Dismiss, ECF No. 34, should be GRANTED with

prejudice.

       As to Count V, Negligent Misrepresentation, the Motion to Dismiss, ECF No. 34, should

be GRANTED with prejudice.

       As to Count VI, Civil Conspiracy, the Motions to Dismiss, ECF Nos. 34 and 36, should

be GRANTED without prejudice to file an amended complaint as to this count.

       As to Counts VII and VIII, RICO violations, the Motions to Dismiss, ECF Nos. 34 and

36, should be GRANTED with prejudice.




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       In accordance with the Magistrate Judges Act, 28 U.S.C. § 636(b)(1), and Local Rule

72.D.2, the parties are permitted to file written objections in accordance with the schedule

established in the docket entry reflecting the filing of this Report and Recommendation. Failure

to timely file objections will waive the right to appeal. Brightwell v. Lehman, 637 F.3d 187, 193

n. 7 (3d Cir. 2011). Any party opposing objections may file their response to the objections

within fourteen (14) days thereafter in accordance with Local Civil Rule 72.D.2.



                                            Respectfully submitted,


                                            /s/ Maureen P. Kelly
                                            MAUREEN P. KELLY
                                            CHIEF UNITED STATES MAGISTRATE JUDGE


Dated: August 17, 2015


cc:    The Honorable Mark R. Hornak
       United States District Judge

       All Counsel of Record Via CM-ECF




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